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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

JUANITA SHANKS, as                                )
Administrator of the Estate of                    )
EUGENE MELCHIOR, II                               )
                                                  )
         Plaintiff,                               )
                                                  )
v.                                                )      Case No. 3:23cv39 (MHL)
                                                  )
                                                  )
RAPPAHANNOCK REGIONAL                             )
JAIL AUTHORITY, et al.,                           )
                                                  )
         Defendants.                              )

                                 NOTICE OF SETTLEMENT
         Plaintiff Juanita Shanks (“Plaintiff” or “Ms. Shanks”), by counsel, hereby respectfully

notifies the Court that Plaintiff and Defendants Rappahannock Regional Jail Authority (“RRJA”)

and Rappahannock Creative Healthcare (“RCHC”) (collectively, “Defendants”) have reached a

settlement resolving all disputes in the above-captioned action.      The Parties are currently

collaborating to construct a formal settlement agreement and will be submitting a petition to the

Court requesting approval of the same once the Parties have finalized the necessary paperwork.




                          ENDORSEMENT ON FOLLOWING PAGE
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    Date: October 27, 2023              Respectfully Submitted,
                                        JUANITA SHANKS,
                                        as Administrator of the Estate of
                                        EUGENE MELCHIOR, II

                                        By: ______________________________
                                                        /s/
                                                      Counsel

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